Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 1 of 16 PageID #:2604




                                EXHIBIT V




                                                                                   EXHIBIT V
                Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 2 of 16 PageID #:2605
                                                        Chicago Tribune (Chicago, Illinois)   · Fri, May 6, 1988 · Main Edition · Page 33

https://www.newspapers.com/image/388886021                                                                       Printed on Jan 31, 2019




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Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 3 of 16 PageID #:2606




                                EXHIBIT W




                                                                                   EXHIBIT W
1/31/2019         Case: 1:18-cv-03424 Document #: Shifting
                                                  85-18Grounds:
                                                           Filed:The Armory Years
                                                                  02/05/19    Page- ING4 of 16 PageID #:2607




                            Clark Street Armory     Land Acquisition     Block 21 Camp      World War I     1968     Governor Thompson
     Audio
     Conversation:
     Michael Butler       Many Illinois Governors have been involved in the transformation of the site explored in this Shifting Grounds project.. Their duties have related to the transition of occ
                          Block 21, and as commander-in-chief of the state's military, it has been their responsibiliy to activate the National Guard during emergencies.

                          Governor Richard J. Oglesby was one of the first to travel through the Chicago Lake Tunnel in 1865, and twenty years later, while he served another gubernatorial term,
                          was put forth giving the Lincoln Park Commissioners the power to build Lake Shore Drive on the state's submerged land. In 1915, Governor Edward F. Dunne negotiated
     Block 21 &           swap for the original armory building, and in 1917, his successor, Frank O. Lowden attended the ceremonial laying of the new armory's cornerstone. State monies under
     The Illinois         Henry Horner funded the 1935 addition to the Chicago Avenue Armory, and in 1940, when Horner died in office, his body laid in state within the new builidng. In 1968,
     National Guard       Otto Kerner, who joined the Black Horse Troop in 1934, and retired as a major general in the National Guard, accompanied Michael Butler to see Mayor Richard J. Daley
                          impending unrest at the Democratic National Convention. Kerner's successor, Governor Samuel H. Shapiro deployed the Illinois National Guard during the 1968 convention'

                          In 1978, less than a year what would be a fourteen-year term as Illinois' Governor, James R. Thompson announced his plans to close two Chicago armories and build a n
                          the suburbs. This announcement initiated a fifteen-year journey that eventually led to Thompson agreeing to a land swap that landed the Museum of Contemporary Art on
     The Armory
     Building



                          September 14, 1978
     Black Horse Troop
     and Indoor Polo


                          From 1978 to 1985, discussions around the armory's future and the National Guard organization waxed and waned. At the initial announcement, Thompson said that the
                          would sell for the land's fair market value, which at that time was $12 million. The Tribune reported that the property would be first offered to city and state agencies,
     Goldberg the Dog     offers were made within 60 days, the sale would be open to private buyers. The Governor explained that National Guard enlistment was down, and the sale would relieve
                          of maintenance costs, as well as a $1.4 million remodeling project.

                          Five days after Governor Thompson's announcement, Chicago Tribune architecture critic, Paul Gapp, weighed in. Suggesting that the city should buy the site, demolish t
                          and make the space a public park, he wrote, "This would create a grand and almost uninterrupted corridor of public recreational and breathing space stretching all the
     Events at the        Michigan Avenue to the lakefront." After describing all existing elements of Block 21, Gapp concluded, "This is the time to make a little plan for a little park that will br
     Armory               people forever."

                          On October 4, State Senator Dawn Clark Netch wrote to the Tribune's editors commending Paul Gapp's suggestion, and adding, "For two years I have been urging Ge
                          adjutant general of Illinois, to dispose of the Chicago Avenue Armory on the grounds that it is largely unused, an eyesore in a beautiful community, and an irrational u
                          great location." Netch continued, "Under no circumstances should it be sold to a private developer for the addition of another 60-70 story high-rise to an area that is al
     Art in the Armory:   single most congested part of Chicago." Her missive ended with a reiteration of her plea: "I urge your continued support to make sure that the Armory is closed an
     Occupied Territory   replacement will add to the beauty, not to the disfigurement of one of Chicago's great assets."

                          October 11, 1978
            HOME


                                                                                                     September 19, 1978


                          Paul Gapp reported back to the Tribune that the group, the Greater
                          North Michigan Avenue Association (GNMAA) supported converting the
                          land to a public park, but also felt that it was possible to keep the
                          building for other public uses. By this time, petitions were circulating
                          condemning the idea of a private sale. The GNMAA committee set its
                          sights on pursuing the possibility of a "reversion clause" on the
                          legislation that turned the city's land over to the state. The group's
                          president added, "We're also exploring recycling the armory, and ideas
                          like putting some big transparent domes on top and turning it into a
                          conservatory or an ice skating rink."
                          March 29, 1979




                          Six months after Governor Thompson's announcement of the sale of the armory, the Streeterville Organization of Active Residents (SOAR) group's petition had accumulated
                          signatures, demanding that the site not be sold to a private developer. SOAR, along with the Greater North Michigan Avenue Association (GNMAA), insisted that a private d
                          would construct a high-rise on the parcel. They also feared that Northwestern University would expand its medical school and hospital onto the land. One suggestion, which
                          come up before, regarded constructing an underground parking facility to finance and maintain the proposed park.
                          July 13, 1981




                          More than two years later, no progress has been made regarding selling the armory. In this Chicago Tribune article that addresses some tension between the National Gua
                          Streeterville residents, Robert Enstad writes of meeting Col. Faite Mack, the armory's custodian and "military aide to the governor," who says, "There are a bunch of ric
                          living over there and some of them have three damn dogs." Mack complains of having to pick up dog waste after the "widows" call downstate to have the park cleaned. T
                          also tells of other instances that demonstrate the love/hate relationship between the Guard and the neighborhood residents through the years.

                          Enstad acknowledges that the building sale is on hold, and notes that in the previoius month, a bill to authorize the sale was defeated in the Illinois House by one vote.
                          Williams, an assistant to Governor Thompson, said that there was no impending sales timetable, adding that Thompson didn't believe that he needed the House's permissio
                          October 6, 1982


                          The photograph that accompanies this headline shows a representative from the Save the Armory Coalition standing alongside Illinois State Representatives Jesse W
                          Barbara Flynn Currie, while two reporters with long microphones appear to be interviewing them. The occasion of the photograph is a protest of the selling of the armory.
                          April 21, 1985




                          Meaningful conversations around the Armory's plight stopped for several years. While I could not find any Tribune stories that reported the Museum of Contempo
                          intersection with the Armory parcel before April 21, 1985, on January 2, 1985, an angry letter to the Tribune's Editor, under the heading, "Armory gift," begins, "So, Gov.
                          wants to give the Chicago Avenue Armory to the Museum of Contemporary Art! I'm sure the people at the museum appreciate his generous impulse. There is one thing w
                          the idea - very wrong. The Armory doesn't belong to Gov. Thompson. It belongs to you and me."

http://shifting-grounds.net/armory/thompson.html                                                                                                                                                   1/3
1/31/2019     Case: 1:18-cv-03424 Document #: Shifting
                                              85-18Grounds:
                                                       Filed:The Armory Years
                                                              02/05/19    Page- ING5 of 16 PageID #:2608

                      In this long article by Catherine Collins, which continues on two pages of the Tribune, she outlines the Museum of Contemporary Art's quest to find a new space for the
                      museum. Along with an image of the looming eastern entrance to the armory, there is a photograph of a smiling Helyn Goldenberg, chair of the MCA's board of directo
                      before a model of a renovated Chicago Avenue Armory; Michael Danoff, the museum's director, stands over her, also smiling at the architectural model.

                      Collins writes, "An emerging national trend has made strange bedfellows of big business, government and cultural institutions. From New York to Los Angeles, the three ha
                      forces to save some of the financially struggling institutions or play midwife to many of the new ones." She cites the example of New York's Museum of Modern Art and the
                      be Museum of Contemporary Art in Los Angeles.

                      The article describes the MCA's intention of renovating the armory building for its purposes. Acknowledging that the armory's 275,000 square-foot space is twice the size
                      would need, a partial tear down is mentioned with the intention to maintain the building's basic structure. [The MCA's interior space at this time was 40,000 square feet, w
                      square feet of storage space.] John Booth, the architect who designed the recent addition to the MCA's Ontario Street location, worked out some different plans for th
                      building and its site. He suggests a scuplture garden for a carved out middle section that would leave the armory's original colonnades intact. Citing MoMA's and
                      partnership with corporations to offset costs, Booth and Goldenberg posit different approaches: Booth suggests a 20-story building at the museum's east end; and Goldenb
                      of "a commercial structure to house all of Chicago's foreign consulates."
                      April 28, 1985




                      In this editorial by architecture critic Paul Gapp, he recaps the history of the armory site's plight since he responded in print to Governor Thompson's 1978 announceme
                      would be selling the Chicago Avenue Armory. Gapp, compelled to write because of the article, above, about the MCA, reiterates his argument that a park should take the pl
                      armory, and emphasizes " the need for such a greenway." And yet, he continues, "the MCA has now moved in with a tentative proposal that may be a serious threat partl
                      it is cloaked in cultural respectability. Its plan has been inspired by museum schemes in other cities." Gapp goes on to suggest that the city should buy the land; the M
                      look elsewhere; or the state should demolish the armory to create a new park.

                      In a June 15, 1985 article titled, Plea: 'Don't give armory to art museum', in the neighborhood newspaper, Near North News, the emphasis is again on demollishing th
                      and keeping the ground as an open park space. The unnamed author also mentions creating an underground parking facility and offers that the Chicago Park District has
                      build and operate the proposed park. Continuing with arguments against the MCA's relocation, the author states: "The Museum of Contemporary Art is now located
                      Ontario. Some neighbors have complained that it is so elitist that most would be art-lovers are denied admission."


                      Also in 1985, 42nd ward alderman Burton Natarus sponsored a down-sizing ordinance that restricted new construction to the armory's current height.


                      Crain's Chicago Business, September 14, 1987
                      MCA Closes in on Armory, but legal woes loom.
                      This article by Michael Warren begins, "An 11-year battle over the Chicago Avenue Armory may end soon, if a legal tangle over the site's ownership doesn't prolong neg
                      Acknowledging that land values have increased by 50% since the armory's last appraisal in 1981, it was valued at $11-14 million at that time. Warren mentions that
                      proposed signing a 99-year lease with the state, instead of assuming the land's ownership. Local alderman Burton Natarus raises a compelling question: "The big legal qu
                      in light of the fact that the land was originally deeded for the purpose of building an armory, would that property revert back to the original owners if the Armory were ra
                      the answer is that too much time has passed for re-claiming the land.

                      Illustrating political intricacies, Warren writes: "If Mayor Washington goes along with Gov. Thompson's decision to lease the property to the MCA, then the title question m
                      mere technicality. But the issue could be a bargaining chip for the mayor in his feud with the governors over leadership of the McCormick Place Board and the proposed
                      stadium."

                      The issues raised with which governing body owned the rights to the armory parcel echo the history of the building out of Lake Shore Drive.

                      Crain's Chicago Business, September 21, 1987
                      Armory's happy ending.
                      This short unsigned article begins, "We're glad to see a happy ending in sight to the 11-year battle over the Chicago Avenue Armory site. Gov. James Thompson is about
                      on a plan to raze the 70-year-old armory, making way for an ideal new home for the Museum of Contemporary Art."

                      See information about the Chicago Avenue Armory's 1987 building appraisal, here.
                      May 6, 1988




                                                                                                May 12, 1988




                      This Tribune article by Constanza Montana details the final negotiations
                      that led to the MCA's acquisition of the armory parcel. During the first This short unsigned article begins, "Chicago's baseball teams ought to make trades as good as the
                      week of May, 1988, Governor Thompson stated that he approved "a promises a new home for the Museum of Contemporary Art. Everyone involved - the museum, the
                      plan whereby the property of the State of Illinois commonly known as the city and its art patrons - should benefit from the transaction."
                      the Chicago Avenue armory, will be leased for a period of 99 years to
                      the Museum of Contemporary Art for the purpose of allowing the
                      museum to demolish the armory and construct a new museum."

                      In exchange for the 99 year dollar-a-year lease, the MCA donated a
                      140,000 square foot building for the National Guard's use as an armory.
                      Governor Thompson was happy with the swap, reasoning that it favored
                      the state because the $3.5 million needed to convert the new building
                      was the same amount as would be necessary to upgrade the Chicago
                      Avenue building; also, he felt that the current operating costs of
                      $250,000 per year would be cut in half with an updated facility.


                      1988 Museum of Contemporary Art brochure:




http://shifting-grounds.net/armory/thompson.html                                                                                                                                             2/3
1/31/2019     Case: 1:18-cv-03424 Document #: Shifting
                                              85-18Grounds:
                                                       Filed:The Armory Years
                                                              02/05/19    Page- ING6 of 16 PageID #:2609




                          Courtesy of the MCA Chicago.


                          November 30, 1993 Ground breaking ceremony for the Museum of Contemporary Art.
                          Pictured from left to right: Governor James R. Thompson, State Representative Sydney R. Yates, MCA CEO Kevin E. Consey, MCA Architect Josef Paul Kleiheus, MCA Trustee
                          Cummings Mayer, NEA Chair Jane Alexander, Chicago First Lady Margaret Daley, MCA Board of Trustees Chair Allen Turner, and MCA Trustee Joseph Shapiro.




                          Photo: Jim Prinz © MCA Chicago

                          After 14 years as Illinois' Governor, James R. Thompson's final term expired in January 1991. On February 28, 1991, Thompson was elected to a three-year term on the MC
                          of trustees.

   Pamela Bannos © 2019




http://shifting-grounds.net/armory/thompson.html                                                                                                                                            3/3
Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 7 of 16 PageID #:2610




                                 EXHIBIT X




                                                                                   EXHIBIT X
        Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 8 of 16 PageID #:2611




Parks & Facilities

Lake Shore Park




    Welcome to Lake Shore Park                                               Movies in the Park



     Location:
     808 N. Lake Shore Dr.
     Chicago, IL 60611

     Supervisor: Jason Zaffaroni

     Phone Numbers:
     Main (312) 742-7891

     Features: Parks




 
      Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 9 of 16 PageID #:2612

Hours
Park Hours

Sunday:                               6:00 am-11:00 pm

Monday:                               6:00 am-11:00 pm

Tuesday:                              6:00 am-11:00 pm

Wednesday:                            6:00 am-11:00 pm

Thursday:                             6:00 am-11:00 pm

Friday:                               6:00 am-11:00 pm

Saturday:                             6:00 am-11:00 pm

Fieldhouse Hours

Sunday                                9:00 am-9:00 pm

Monday                                8:00 am-11:00 pm

Tuesday                               8:00 am-11:00 pm

Wednesday                             8:00 am-11:00 pm

Thursday                              8:00 am-11:00 pm

Friday                                8:00 am-11:00 pm

Saturday                              9:00 am-9:00 pm




Description
Located in the Near North community also called Streeterville, Lake Shore Park totals
7.08 acres and offers extensive outdoor recreational opportunities for a densely
populated community. Amenities include tennis courts, a quarter-mile soft surface
     Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 10 of 16 PageID #:2613
running track and a playground. Inside, the park offers a full-size gymnasium, a tness
center and meeting rooms. Many of these spaces are available for rental for special
events. 

Park-goers come to Lake Shore Park to play seasonal sports at the facility. After school
programs are offered throughout the year, and in the summer, youth attend the Park
District’s popular six-week day camp.

In addition to programs, Lake Shore Park hosts fun special events for the whole family,
such as concerts, Movies in the Park and other Night Out in the Parks events.




History
Lake Shore Park was planned for years before development began by the Lincoln Park
Commission just before 1900. The Lincoln Park Commission was one of three Chicago
park boards created by the Illinois state legislature in 1869. Twenty years later, the
legislature gave a section of accumulating duneland north of Chicago Avenue to the
park commission.

The City of Chicago challenged the commission's ownership, but the matter was
resolved in the commission's favor in 1895. Shortly thereafter, plans were drawn for what
was initially known as Chicago Avenue Park. In 1897, the commission began stabilizing
and expanding the site with land ll, a process that would continue for many years.
Landscape improvements began in 1900.

In 1907, the Lincoln Park Commission agreed to expand the park by improving city land
just west of the park. At the time, the Lincoln Park Commission was a leader in a national
movement toward neighborhood parks. The commission's efforts included Seward and
Stanton parks, developed during the same period. In 1908, the commission of cially
named the expanded property Lake Shore Playground, in recognition of its location. A
shelter house was erected, and outdoor recreational facilities installed.

By 1915, the city had reclaimed its land, transferring it to the State of Illinois for an armory.
The commission completely redesigned the remaining parkland in the following years.
Demolishing the original shelter house, the commission constructed a new brick
 eldhouse. The 1916 eldhouse sat at the east end of the park, facing Lake Shore Drive
and Lake Michigan. A running track, baseball diamond, and tennis courts stretched to
the west.
       Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 11 of 16 PageID #:2614
The Chicago Park District took control of Lake Shore Park in 1934, when the 22 city park
districts were consolidated into a single uni ed district. In 1963, the park district
dismantled the 1916 structure and built yet another eldhouse on the park's eastern
border. The armory to the west was demolished in the 1990s, and Lake Shore Park is now
bordered by the stepped terraces of the new Museum of Contemporary Art, designed by
Josef Paul Kleihues.




Parking Directions
For directions using public transportation visit www.transitchicago.com .




Advisory Council
Contact: David Kostelansky,   President
Email: dave@lakeshoreseneca.org
Meeting Details:
2nd Monday of the month at 5:30 p.m.




                              Map & Facilities


              Museum of Contemporary Art
             220 E Chicago Ave
             Chicago, IL 60611
             (312) 280-2660
                Show on map


             Sculptural Relief Panel
             808 N. Lake Shore Dr.
             Chicago, IL 60611
Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 12 of 16 PageID #:2615




                                 EXHIBIT Y




                                                                                    EXHIBIT Y
       Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 13 of 16 PageID #:2616




Parks & Facilities

Harrison (Carter) Park




                                                                            Playing ball at Har


    Welcome to Harrison Park!



     Location:
     1824 S. Wood St.
     Chicago, IL 60608

     Supervisor: Tony Gonzales

     Phone Numbers:
     Main (312) 746-5491

     Features: Parks




 
     Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 14 of 16 PageID #:2617

Hours
Park Hours

Sunday:                               6:00 am-11:00 pm

Monday:                               6:00 am-11:00 pm

Tuesday:                              6:00 am-11:00 pm

Wednesday:                            6:00 am-11:00 pm

Thursday:                             6:00 am-11:00 pm

Friday:                               6:00 am-11:00 pm

Saturday:                             6:00 am-11:00 pm

Fieldhouse Hours

Sunday                               10:00 am-2:00 pm

Monday                               8:00 am-9:00 pm

Tuesday                              8:00 am-9:00 pm

Wednesday                            8:00 am-9:00 pm

Thursday                             8:00 am-9:00 pm

Friday                               8:00 am-9:00 pm

Saturday                             9:00 am-5:00 pm




Description
Located in the Pilsen community, Harrison Park totals 18.58 acres and features a
 eldhouse with a gymnastics center, an indoor swimming pool, a gymnasium, meetings
rooms and a reception rotunda featuring a bust of Emiliano Zapata, one of the most
      Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 15 of 16 PageID #:2618
prominent gures of the Mexican Revolution. Outside, the park offers tennis courts,
basketball courts, baseball elds, a large arti cial turf eld that is used for baseball
and football or soccer and a playground.

Many of these spaces are available for rental. Harrison Park is also located adjacent to the
National Museum for Mexican Art and offers many cultural opportunities in partnership
with the museum. 

ark-goers come to Harrison Park to play soccer, baseball and tennis, or go swimming in
the indoor pool. After school programs are offered throughout the school year, and in the
summer youth attend the Park District's popular six-week day camp. Specialty camps
are offered in the summer as well, and special recreation camps for children and adults
are offered throughout the year.

In addition to programs, Harrison Park hosts fun special events throughout the year for
the whole family, such as Movies in the Park and other holiday activities.




History
The West Park Commission created Harrison Park in 1912 to provide breathing space and
social services to the overcrowded and industrialized lower west side. The commission's
 rst three neighborhood parks, Dvorak, Eckhart, and Stanford Parks, were so successful
that the State passed a bill permitting additional neighborhood parks in 1909. (Stanford
Park no longer exists.)

The Special Park Commission identi ed several potential park sites, including an eight-
acre parcel previously used for lime production. The West Park Commission acquired the
lime kiln site and renowned landscape designer Jens Jensen created the park's original
plan. Swimming and wading pools and a natatorium building were constructed in 1914.

Within the next several years, other recreational features including children's gardens
were added, however, the park did not have a eldhouse until 1928. In 1950, the Chicago
Park District expanded the intensively-used small park by acquiring a stone quarry at its
western boundary.

During the following years, the neighborhood's Latino population grew, and in 1987, the
natatorium was converted to the National Museum of Mexican Art. In 1993, a new state-
of-the-art eldhouse replaced the original facility.
      Case: 1:18-cv-03424 Document #: 85-18 Filed: 02/05/19 Page 16 of 16 PageID #:2619
The park honors one of Chicago's most popular mayors, Carter H. Harrison, Sr. (1825-1893).
A native Kentuckian who settled near Union Park, Harrison served as mayor for ve
terms between 1879 and 1893. He was assassinated by a disappointed of ce seeker late
on the day of October 28, 1893. Ironically, the day had been designated Mayor's Day in
Harrison's honor because it marked the closing of the World's Columbian Exposition,
Chicago's rst world's fair. There is a monument to Harrison in Union Park.




Parking Directions
For directions using public transportation visit www.transitchicago.com .




Advisory Council
Contact: Tina Iturralde,   President
Phone: (773) 961-4001
Email: tinaiturralde@yahoo.com
Meeting Details:
3rd Tuesday of every month at 6 pm




                              Map & Facilities


             Harrison Park Climbing Wall
             1824 S. Wood St.
             Chicago, IL 60608
                Show on map


              National Museum of Mexican Art
             1852 W 19th St
             Chicago, IL 60608
